Case 1:23-mc-00034-EPG Document7 Filed 04/28/23 Page 1 of 3

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EJ-001 { Qi
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, address, and Slafe Bar number): P
Afier recording, retum to:

Bruce J, Zabarauskas (SBN No. 248601)
Holland & Knight LLP oo
400 South Hope Street, 8th Floor

Los Angeles, CA 9007 1

TELNO: 214.969.2511 FAX NO. {optional} oO
E-MAIL ADDRESS (Optionay: bruce, zabarauskas@hklaw.com

((X] Attorney [7x] wuocment [77] ASSIGNEE 1 .

FOR CREDITOR OF RECORD

SUPERIOR COURT OF CALIFORNIA, COUNTY OF US District Court
STREET ADDRESS: 501 | Street, Room 4-200

* |MAILING ADDRESS: i

City ANDzIP copE: Sacramento, CA 95814

BRANCH NAME: Eastern District of California

FOR RECORDER'S USE ONLY
PLAINTIFF: CDS Business Services, [nc. d/b/a Newtek Business Credit “CASE NUMBER:
DEFENDANT: Paul Haley, Jill Osur, Thomas Atherstone 1:23-me-00034
ABSTRACT OF JUDGMENT—CIVIL
Y
AND SMALL CLAIMS co Amended. FOR COURT USE ONL’
1. The [5c] judgment creditor [_] assignee of record
applies for an abstract of judgment and represents the following: . {
a, Judgment debtor's
Name and last known address
aul Haley
110 Merion Terrace / ~
Moraga, CA 94556
b. Driver's license no. [last 4 digits] and state: 7772 | [[~] Unknown “
c. Social security no. [last 4 digits]: 7534 [_] Unknown

d. Summons or notice of entry of sister-state judgment was personally served or mailed to (name and address):
Paul Haley, c/o Bailey Summers, 7449 Fairplay Road, Somerset, CA 95684

2. [3¢] Information on additional judgment debtors is 4, [-] Information on additional judgment creditors is _
- shown on page-2. shown on page 2.
3. Judgment creditor (name and address): b. [C_] Original abstract recorded in this county:
CDS Business Services, Inc. d/b/a Newtek Business Credit
1981 Marcus Ave., St. 130 ’ a Date:

Lake Success, NY 11042

b. Instrument No.: .
Daterf (25 (2223 uo ON
td Boe DABACG San > PBDI.

(TYPE OR PRINT NAME) —— OR ATTORNEY)
6. Total amount of judgment as entered or last renewed: 10. [JAn execution lien [[_] attachment lien’ .
- $3,752,418.38; see also Attachment 1 is endorsed on the judgment as follows:
7. All judgment creditors and debtors are listed on this abstract. a. Amount: $
8, a. Judgment entered on (date); February 1, 2023 b. In favor of (name and address):
b. Renewal entered on (date):
9. [_} This judgment is an installment judgment. 11. A-stay of enforcement has
BEAN a. [3¢] not been ordered by the court.
b. [-_] been ordered by the court effective until
1 , (date): :

12. a. {(x<] | certify that this is a true.and correct abstract of
the judgment entered in this action.

This 97 sued on (date): b. ["] A certified copy of the judgment is attached.
4, A] WA 2 Clerk, by [ ) ‘ PULA , Deputy
Form Adopted for Mandatory Use ABSTRACT OF JUDGMENT—CIVIL Page 1 of 2

Code of Civil Procedure, §§ 488.480,
EJ.004 (Rev, July 1, 2044] , AND SMALL CLAIMS 674, 700.180

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Filed 04/28/23: Page 2 of.3-

PLAINTIFF: CDS Business Services, Inc. d/o/a Newtek Business Credit

_ COURT CASE NO.: ,
4:23-mc-00034

DEFENDANT: Paul Haley, Jill Osur, Thomas Atherstone

NAMES AND ADDRESSES OF ADDITIONAL JUDGMENT CREDITORS:

13.

15.

Judgment creditor (name and address):

[__] Continued on Attachment 15.

INFORMATION ON ADDITIONAL JUDGMENT DEBTORS:

16.

18.

Name and last known address

pir sur .
‘2001 San Miguel Drive

Wainut Creek, CA 94596

Driver's license no. [last’4 digits] and’state:
California - 7476

Social security no. {last 4 digits]:

[__] Unknown

0737 ([—~] Unknown

Summons was personally served at or mailed to (address):
JitOsur ,

c/o Dean Meyers ; ’

2001 San Miguel Drive

Walnut Creek, CA 94596 *

‘

Name and last known address

pron Myers
2001 San Miguel Drive
Walnut Creek, CA 94596 -

_|

’

[-_] Unknown
Cd Unknown

Driver's license no. [last 4 digits} and state:
California - 7476

Social security no. [last 4 digits]: 0737
Summons was personally served at or mailed to (address):
Jill Osur

cio Dean Meyers

2001 San Miguel Drive

Walnut Creek, CA 94596

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r

20, [77] Continued on Attachment 20.

17,

19.

14, Judgment creditor (name and address):

Name and last known address
Thomas Atherstone’ :
5069 Alhambra Valley Road
Martinez, CA 94553

—— —_—

Driver's license no. {last 4 digits] and state:
California - 0065

Social security no. last 4 digits]; 5650 [—] Unknown

Summons was personally served at or mailed to (address):

Thomas Atherstone
c/o Jane Dee, Co-Occupant
5069 Alhambra Valley Road
Martinez, CA 94553

Name and last known address
if Frances Osur Myers

001 San Miguel Drive.
Wainut Creek, CA 94596

: “

Unknown
[__] Unknown

Driver's license no. [last 4 digits] and state:
California - 7476 /

Social security no. [last 4 digits]: 0737
Summons was personally served at or mailed to (address):
Jill Osur

clo Déan'Meyers

2001 San Miguel Drive

Walnut Creek, CA'94596

BJ-001 Rev, July 1, 2044)

~ ABSTRACT OF JUDGMENT—CIVIL
AND SMALL CLAIMS

Page 2 of 2

(J Unknown _

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MC-025

| SHORT TITLE: “
[ABSTRACT OF JUDGMENT - CIVIL AND SMALL CLAIMS

CASENUMBER:
1:23-at-00326

ATTACHMENT (Number): 1

(This Attachment may be used with any Judloal Council form.)

6. Total amount of judgment as entered or last renewed:

$3,752,418.38 plus prejudgment interest thereon at the Prime Rate plus 10% for the period of May 3, 2022 through

February 1, 2023 (date of entry of judgment in E.D. N.Y.).

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(if the item that this Altachment concerns is made under penaity of perjury, all statements in this Page 1 of 1
Attachment are made under penalty of perjury.) (Add pages as required):
Form Approved for Optional Use ‘ ATTACHMENT www.courinio.ca.gov

dudiclal Council of Califomia se .
MC-025 [Rev July 1, 2008] to Judicial Council Form

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